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UNITED STATES DISTRICT COURT

DISTRICT OF MAINE. -
UNITED STATES OF AMERICA: } |
Ms , ‘Crim, No, 2:19-0f-201 JDL
ANTHONY JONES a : i |

AGREEMENT TO-PLEAD GUILTY

(WITH STIPULATIONS, APFEAL WAIVER, CARES ACT WAIVER,

AND VERSTOD ‘ OF (THE OFFENSE)

 

The United States of America, by and through Donald E. Clark, Acting United States
Attorney for the District of Maine, and Meghan Coimelly, Assistint United States Attorney, and
Anthony Jones (hereinafter "Defendant"), acting for himself and through his counsel, Peter
Rodway, Esquire, enter into the following Agreetient based upon the promises and
understandings set forth below,

Ay Guilty Plea/Dismissal of Couns. Defendant agrees to.plead guilty to Count One
of the Indictment pursuant to Rule i of the Federal Rules of Criminal Procedure (Fed. R. Crim,
P.), at the earliest opportunity requested by the United. States and provided by the Court. Count
One of the Indiciment charges Defendant with possession ‘with i intent to distribute heroin and
cocaine, in violation of Title 21, United States Code, Section 841(a)(D. In-addition to pleading
suilty, Defendant agrees not to contest the version of the offense set forth i in this Agreement, to
otherwise comply with all the terms of this Agreement, nd to be sentenced on the charge to
which he has agreed to plead guilty, Further, given ihe lapse of time since the date of his
commission of the offense to which he is pleading guiliy, and the resulting impact ofthe — -
Coronavirus Disease 2019 (COVID- 19) pandemic on n the Uniied ‘Sistox ability t 0 prepare the ~

case for trial, Defendant agrees that the United § States would be substantially prejudiced by the

 

 
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Withdrawal of his guilty plea. The Government agrees that if the:defondant is sentenced on the
charge to which he has agreed to plead pity, the Government-wil! not prosecute the defendant
for any other conduct known to the United States Attomeys Office for the District of Maine at
the time this agreement is executed. ° |

2. CARES Act Waiver. Defendant agrees that all g court appearances, including his
change of ies hearing and sentencing hearing, may proceed by video-teleconference CVEG",
so fig as duck appearances are authorized by the Generel Orders of this Court, rule, or statute.
Defendant understands that, under the. Coastitition, the United States: Code; andthe Federal -~-—-—>--—— a
Rules of Crtaviaea Procedure (including Rules 11; 32, and 43), he may have the right to be .
physically present at these hearings. Defendant understands that right and, after consulting with
counsel, voluntarily agrees to waive it and to Etoceed remotely. Defense segues also joins in
this consent, agreement, and waiver, Specifically, this dgreement includes, but is Hot limited to,
the following:

a, Defendant consents indee Section 15002() ofthe CARES Act to proceed

with his change of plea heating by VIC;

b, Defendant consents under Section ioe of the CARES Act to proceed

with bis sentencing hearing by vie and

c. Defendant consents under ig USC. § 3148 and Section 15002(b) of the

CARES Act to proceed with any Viesltidiy rbomilivie oiled hatin arucn

conditions of release by VTC.

b,. .

 

 
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Os rat

3, Sentencing/Penalties. Defendant agrees tobe sentenced on the charges described

above. Defendant understands that the penalties that are applicable.to the charges described

above are as follows:
A. A maximum prison term of 20 years:,
B. A maximum fine of $1,000,000; . .
C. - Amandatory special aiséssment of $100.06 for each count of conviction
which Defendant agrees to ane at or bee i — ata = enters a Soa
plea; and ge", SAREE wii | Rag S # 8,

f EX, A term of sunertise’ relbase es not ies thari3 years and not more than
lifs. Defendant understands that his failure to comply with any of the
conditions of supervised rélease may result in revocation of supervised
release, requiring Deferidant to serve up to 2 additional years in prison for
any SHED Tevocation of aeeaenS release © pursuant to 18 US.C. § 3583.

4... Version of the Offsise, Defendint. admit that h he is, in fact, guilty a the offense

described in paragraph 1, above, to which he is atirosing te pleac guilty. Defendant and the

United States agree to the statement of facts provided below and agree that this statement of facts

is sufficient to provide a factual basis for his plea of guilty to the charge described in this

agreement but is not meant to be a complete recitation of all facts relevant to the underlying

ctiminal conduct or all facts known to either party that relate tp thet conduct.

A.

On September 30, 2019, a Trooper with the Maine State Police stopped a
vehicle for an expired inspectios sticker. Defendant was the driver, A
female passenger was preséat i in the front seat,

An ensuing search of thé vehicle resulted in the seizure of distributable
quantities of suspected heroin from the trunicof the vehicle,

Additionally, Defendant had 2 bag cama seventeen (17) grams of
cocaine on his person in his pants,

Laboratory tests confirmed sinwitbscnes of heroin and cocaine in the
seized substances.

 

 

 
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EB, ‘Defendant intended to distribute at least a portion of the seized substances
toothers, 0. a ee

Bi Agreements Reparding Sentencing. The parties agree to make the following non-

binding recommendations as to sentencing: : ..

A. The parties agree to recomntend that the term of imprisonment
imposed not exceed 30 mioliths, 2 8

 

B, The parties. agree t6 recUinmend that the drug quantity does not:
exceed a-base offense level 24-00.-0°- 05 oa a.

oe The parties agree td recotiimend ‘hat ¢ ze Court find that the Defendant has
accepied responsibility for the offense of conviction, atid that the Court
should reduce the Defonidaiys Adjusted Offense Level purseant to
U.S.S.G.'§ 3B1.1,. The Government reserves the tight not to recommend ¢
reduction under U.$.8:G. §.3E1 .1 if) at any time between his execution of
this Agreement and senteriving, Defendant: (a) fails to admit a complete
factual basis for the plea; (b) fails to truthfully admit his conductin the
offense of conviction: (c) eligages in conduct which results in an
adjustment under U.S.S.G: § 3C1.i: {d) faisely denies or frivolously
contests relevant conduct for which the Defendant js accountable under
US.S.G. § 1B1.3 or previous convictions that the defendant has sustained;
or (¢) engages in new criminal conduct. Defendant understands that he
imay not withdraw the guilty plea if, for any of the reasons fisted above,
the Government does not recommend that he-receive a reduction in
Offense Levei for acceptance of TESPORSIDEty———--

D. in addition, because the jitsties system is facing an unprecedented erisis.as— 1
a result ofthe COV{D-19 pandetnic, the parties also agree thatthe =
government will recommend a'three level variance pursuant to 18 U.S.C. §
3553(a) and as recobnition of Detendant’s extraordinary ‘acceptance of
responsibility and his festening the burden on the court system by: (a)
committing to plead guilty in advance of the normalization of court
operations and actually pledding guilty and being sentenced on the charge
to which he has agreed!to plead guilty; <b) proceeding by VIC (unless the
Court sua spante orders otherwise) with subsequent proceedingsas-- |
discussed in paragraphi2, above, (c) agreeing to the version of the offense
set forth in this Agreement; (d) agreeing to be bound by all-the terms of
this Agreement, specifically including those relating to breach and ~
Temedy; and (¢) waiving appellate rights as referenced below,

 

 
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7

The parties expressly agree and und

recommendations of the parties, Defendant
guilty.

In addition, because the justice syst
COVID-19 pandemic, the parties also agree

variance pees to eB UE S.C,

acceptance of reapaniulliny and. aE lessenit

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erstand that should the Court reject any or all of the

will tot thereby be permitted to withdraw his plea of

2m is Htoing an unprecedented crisis as a result of the

that the. bi will: recommend a three level

saeeate) and as recognition of {Detondas? s extraordinary

ag the burden ou the court system-by: (a) commenting

to plead guilty in advance of the normalization of court operations and actually pleading guilty

‘and being sentenced on the charge to which

he has agreed to plead guilty; 6) proceeding by

VTC (unless the Court sua sponte orders otherwise) with subsequent proceedings as discussed in

paragraph 2, above, (c) agreeing ico the versi

agreeing to be bound by all the terms of this

breach and remedy; and (e) waiving appellat

on of cae etenss set forth in this Agreement: (d)
Agréement, ee incinding those relating to

e rights as referenced télow.

The parties expressly agree and understand that should the Court reject any of the

recommendations of the parties, Defendsnt will noi theteby be permitted to withdraw his plea of

guilty. The parties agree and understand that

Setitence,

6. Appeal ‘Wilvers, Defendant i

the Court has the discretion to impose any lawful

S aware that Title 18, United States Cade, Section

3742 affords a defendant the right to eppeal the sentence imposed. itaondng that, Defendant

waives the right to appeal the following:
A

Defendant’s guilty plea and any other aspect af Defendant’s conviction in

ihe above-captioned case; and

A sentence of imprisor

Sune that does not exceed 30 months,

 

 

 
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Defendant’s waiver of his right to appeal shall not apply to appeals based on a right that has been
newly recognized by the Supreme Court and mats retroactively applicable to cases on collateral

review. 1

Seas *

The number of. months mentioned in this paragraph doesnot necessarily éonstitute an’
I & we ty pets 5 ae 7 poet, ae bo i “2 . Lotro saan se 4
estimate of the sentence that-the parties expect will heimposed...°-. 0 0”

a New Criminal Conduct. Defendant agrees that he will not commit any other

 

federal or state crime. -

8. Breach and Consequences of Bréach. If Defendant violates or fails to perform

 

any obligations under this Agreement (“a breach’), the United States will be released from its
obligations hereunder, including its obligations to make any sentencing recommendations under
|
Paragraph 5, and may fully prosecute Defenda#t on afl criminal chargés that can be brought
against Defendant. With respect to such a prosecittion:
A. The United States may usé any statement that Defendant made pursuant to

this Agreeraent, including state:ients made curing ples discussions, the
version of the offense set forth in Paragraph 4, and plea colloguies, and the -

fact that Defendant pleaded guilty, and Defendant hereby waives any———-—_—_—

claim under Rule 410\of the Federal Rules of Evidence or Rule | 1 of
the Federal Rules of Grimitial Procedure that such statements aid guilty. — _
plea aze inadmissible. a ;
B. Defendant waives any and all defenses based of the statute of limitations
with respect to any such prosecution that is not time-barred on the date
that this Agreement is|signéd by the parties, ° .
If the United States chooses to exercise its rights under this paragraph, the determination of
whether Defendant has committed a breach shall be made by the Court upon an appropriate
motion. In a proceeding on such motion, the|United States shall have the burden to establish

Defendant’s breach by a preponderance of the evidence.

 

 

 

 

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9. Speedy Trial Waiver. Defendasit aprees to waive, and hereby does waive, any and
all rights he might have underthe Speedy Trial Act, ae SL, §§ 2141-64, from the date of the
execution of this Agreement an continuilie theteafter ih cmnene and foctniing g the date upon

which sentence is imposed. In the event that the-C pom dete maines that Detendant has: breached

 

this Agreement, as set forth:in. Paragraph. 8. aa is Agretraent, then the waiver described in this
Paragraph shall continue through and inchidinadipeden 6 On. esi che. la devermuines that such
a breach has occurred. Defendazit expressly consents to the entry of an: Order by the Court
excluding such periods of ime from such elissttchatton: gf r gee |

10. Forfeiture. Defendant agrees|to waive any claim to, and assist the United States in

effecting the forfeiture or other transfer of, any pteperty that may be subject to forfeiture to the

 

United States under any law of the United Statés including, but not. limited to, a money.
judgement representing the amount of ai Defendant received as a resuit of the commission
of the above offense. —_ |
it, Validity of Other Agreemenis: Sighature. ‘This Agreement sspersedes any prior
understandings, promises, or conditions between this Office and Defendant. However, in the-
eveut that Defendant fails to enter gulity plea or is allowed to withdzaw his guilty-plea- entered — wa |
hereunder, and the Court determines that Defendant has not breached this Agreement, then any
proffer agreement between the parties shalt a in effect. No additional understandings,

promises, or conditions will be entered into intess in writing and signéd by ail parties. The

 

signature of Defendant in the space designated signifies his full and voluntary acceptance of this

Agreement,

have read this Agreement and have carefully reviewed everypart of it_Lunderstand it. =].

and ] bave voluntarily agreed to it.

"adh

 

 
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Date: GG ~All

 

    
 

    
  
 

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efrefully review
thony Jones’

- Lam legal. counsel for Anthony Jones. I hs vei
Agreement with Anthony Jones. To my knowledge, A
Agreement is an informed and voluniary one:
Date: ee ee OEE fog A
PeteRodway,Esquie | f
Attomey for Defendant -

  
  

FOR THE UNITED STATES: Donéld B. Clark
: anein atis otates Attormey
Date; 4/27/21 yy ke é ° Canahhe

Megiign E. Connelly Za
Assi stant U.S. Attorney

ati e. eo a Pa
Supervisory Assistant UB Atiomey Wie

Approved:

 

Revised December 16, 2026 - _

 

 

 
